     Case 2:06-cr-00090-FVS    ECF No. 15   filed 11/30/06   PageID.63 Page 1 of 2




 1
 2
 3
 4
 5
 6
                               UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF WASHINGTON
 8
      UNITED STATES OF AMERICA,                 )
 9                                              )    No. MJ-06-294
                        Plaintiff,              )
10                                              )    ORDER OF PROBABLE CAUSE,
      v.                                        )    DENYING ORAL MOTION TO
11                                              )    DISMISS, AND GRANTING ORAL
      MIGUEL MENDOZA,                           )    MOTION TO PRESERVE AGENT’S
12                                              )    HAND-WRITTEN NOTES
                        Defendant.              )
13                                              )

14         A probable cause hearing was held on November 30, 2006.

15   Assistant U.S. Attorney K. Jill Bolton appeared for the United

16   States.     Defendant was present with counsel Curran Dempsey.                  ATF

17   Special Agent Todd Smith testified and was cross examined. Argument

18   was presented by both sides.

19         The court finds probable cause to believe that the charged

20   offense has been committed and to believe the Defendant committed

21   it.

22         IT IS ORDERED:

23         1.    The Defendant’s oral Motion to Dismiss (Ct. Rec. 12) is

24   DENIED.    Defendant, on the finding of probable cause, is bound over

25   to the United States District Court for trial.

26         2.    The Defendant shall remain in the custody of the U.S.

27   Marshal pursuant to this court's Order filed November 28, 2006.

28
     ORDER OF PROBABLE CAUSE, DENYING ORAL MOTION TO DISMISS, AND
     GRANTING ORAL MOTION TO PRESERVE AGENT’S HAND-WRITTEN NOTES -1
     Case 2:06-cr-00090-FVS    ECF No. 15   filed 11/30/06   PageID.64 Page 2 of 2




 1         3.    The Defendant’s oral Motion to Preserve the Agent’s Hand-
 2   Written Notes is GRANTED.
 3         DATED November 30, 2006.
 4
 5                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     ORDER OF PROBABLE CAUSE, DENYING ORAL MOTION TO DISMISS, AND
     GRANTING ORAL MOTION TO PRESERVE AGENT’S HAND-WRITTEN NOTES -2
